Case 2:17-md-02789-CCC-LDW Document 864 Filed 09/13/22 Page 1 of 3 PageID: 115301




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

                                                   2:17-MD-2789 (CCC)(LDW)
    IN RE: PROTON-PUMP                                     (MDL 2789)
    INHIBITOR PRODUCTS                           and all member and related cases
    LIABILITY LITIGATION
                                                       Judge Claire C. Cecchi
    This Document Relates to:
    All cases listed in Exhibit A


                       CASE MANAGEMENT ORDER NO. 84
                             (Order to Show Cause)

         On April 7, 2022, the Court entered Case Management Order (“CMO”) No.

   74, setting 200 cases for discovery in Wave 1. On July 7, 2022, Defendants in the

   Wave 1 cases notified Special Master Ellen Reisman of various issues that they

   believed had arisen since CMO No. 74 was issued. Special Master Reisman

   requested additional information from the Plaintiffs’ Steering Committee (“PSC”)

   and Defendants, and subsequently met with the parties on July 26, 2022. Special

   Master Reisman subsequently has conducted multiple conference calls with counsel

   for the defendants and the PSC, as well as additional calls with the individual counsel

   for certain Wave 1 plaintiffs.

         The plaintiffs in the cases identified on the attached Exhibit A have not

   proceeded with their discovery obligations, including individual plaintiffs’ counsel

   in these cases being unable to provide Defendants with dates for the plaintiffs’

   depositions. Accordingly, the plaintiffs on the attached Exhibit A are hereby ordered
Case 2:17-md-02789-CCC-LDW Document 864 Filed 09/13/22 Page 2 of 3 PageID: 115302




   within thirty days of the date of this order to show good cause why their case should

   not be dismissed. Within fifteen days after a plaintiff files a response to this Order,

   the Defendants in the case may file a response on the docket of the individual case.

         Failure to comply with the terms of this Order will result in the dismissal of

   the case.



   SO ORDERED

   SIGNED on this 13th day of September, 2022.




                                           _________________________

                                           ELLEN K. REISMAN

                                           Special Master




                                              2
Case 2:17-md-02789-CCC-LDW Document 864 Filed 09/13/22 Page 3 of 3 PageID: 115303




                                   EXHIBIT A


                        Plaintiff Name                      Case No.
     1    Orum, William Paul                             2:18-cv-00359
     2    Brazle, Glenda                                 2:18-cv-08239
     3    Ford, Paula Sue                                2:19-cv-13657
          Marquez, Clarissia, Individually and as Next
     4                                                   2:19-cv-15663
          Friend of Jacob Kitchen, A Minor Child




                                          3
